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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


JOHN DOE,                                        )
                                                 )
            Plaintiff,                           )
                                                 )
      vs.                                        )   Case No. 4:19 CV 300 (JMB)
                                                 )
WASHINGTON UNIVERSITY,                           )
                                                 )
            Defendant.                           )


                                             ORDER

       IT IS HEREBY ORDERED that the Clerk of Court shall disable the link to

Document 1.

       IT IS FURTHER ORDERED that plaintiff shall refile his complaint and attached

exhibits under seal. In naming his exhibits, plaintiff is directed to use the initials of nonparties

rather than their names.



                                                     /s/ John M. Bodenhausen
                                                     JOHN M. BODENHAUSEN
                                                     UNITED STATES MAGISTRATE JUDGE

Dated this 26th day of February, 2019.
